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               EXHIBIT M
                       Case 1:19-cv-10203-IT Document 181-13 Filed 10/28/22 Page 2 of 2
                                                                                                                        LARSON

                                                                                          Sonya Larson <Iarsonya@gmaif.com>
            Gmail
Adjusted story?
                                                                                                      Wed, May 4, 2016 at 1:58 PM
Sonya Larson <farsonya@gmaif.com>
To: authorcare@audible.com
                                                                                      excited about this!
 Oh, fantastic. This is so great to hear! Thank you so much, Samantha! I am so

 Cheers,
 Sonya
                                                                             dible.com> wrote:
  On Wed, May 4, 2016 at 11:13 AM, Audible Studios Author Care <authorcare@au
  ! Hi Sonya,
  fi Hope you are having a wonderful day so far! t have reached out to our production team and looks like it's a go! Our
                                                                                 your book. If there is anything else you
   S production team has saved the copy and will be looking forward to recording
   I need, please feel free to reach out to me.
   i Samantha
     Audible Studios Author Care Team
   ;
   ! As a valued customer, your experience is important to us. Please answer the question below regarding your customer
     service experience. Your feedback will help us better serve your future needs.
   i
   i Did I solve your problem?
   !
   i

    _!lyes,..p!ease_ciick Jiere:
  —i_

   ) bttp://www,audible.com/HMDSurvey?p=A3G4EWi JTQI6DT&k=h'y&a-Y

   ! If no, please click here:
     http://www.audible.com/HMDSurvey?p=A3G4EW1JTQI6DT&k=hn&a=N

                                                                                             actus.
        To contact us about an unrelated issue, please visit us at http://audible.com/mt/cont

   i — Original message: —-
   !i Dear Samantha,
   I
      Hello, and I hope you're well! The voice actor Emily Zeller is scheduled on
      Friday to record my story, "The Kindest," and recently checked in with me
      for tonal and pronunciation direction.

       | I have a quick question: since first submitting this story to Audible.com
       | j've made slight revisions on the level of language-- mostly to ease the
       ! rhythm and tone. The new version is attached; is it possible that Emily
       i could read this version instead? She has happily agreed to do so, but says
       ! that I should check in with you first. I do think that this version will
       } sound MUCH better.

       ; Please let me know, and thank you!
       ! Sonya




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